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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

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Counsel to the Liquidation Trustee
In re:                                                              Case No.: 20-18445 (JKS)

RTW RETAILWINDS, INC.,1                                             Chapter 11

                                    Debtor.                         Judge: Hon. John K. Sherwood




1
 The remaining Debtor in this chapter 11 case and the last four digits of the Debtor’s federal tax identification
number is RTW Retailwinds, Inc. (1445). By order and final decree entered February 22, 2021, the chapter 11
cases of the Debtor’s affiliates were closed [Docket No. 844].
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META Advisors LLC, in its capacity as Liquidation
Trustee of the RTW Liquidation Trust,                   Adv. Proc. No. 22-01170 (JKS)

                          Plaintiff,

v.

ELITE MODEL MANAGEMENT, LLC,

                         Defendant.



              STIPULATION EXTENDING TIME TO ANSWER COMPLAINT

        Plaintiff, META Advisors LLC, in its capacity as Liquidation Trustee of the RTW

 Liquidation Trust (“Plaintiff”) and defendant, Elite Model Management, LLC (“Defendant”), by

 and through their undersigned attorneys, hereby stipulate and agree as follows:

        WHEREAS, on June 24, 2022, Plaintiff filed a complaint (the “Complaint”) against

 Defendant;

        WHEREAS, the summons (the “Summons”) was issued on June 27, 2022; and

        WHEREAS, on June 27, 2022, Defendant was served with the Summons and Complaint;

        The parties hereby stipulate and agree to the matters set forth below:

        1.      The time by which Defendant is required to answer the Complaint is extended

 through and including August 15, 2022.

        2.      Defendant does not challenge personal jurisdiction and waives any objection to

 service of process of the summons and complaint in this adversary proceeding.
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Dated: June 28, 2022                           Dated: June 28, 2022

KELLEY DRYE & WARREN LLP                       DENLEA & CARTON LLP

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